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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                        Senior District Judge Richard P. Matsch

Civil Action No. 07-cv-00371-RPM

CHARLES CALDWELL and
VICKI CALDWELL,

                    Plaintiffs,
v.

THE COUNTY OF PARK, a body incorporate and politic and political subdivision of the
State of Colorado,
FRED WEGENER,
MONTE GORE,
GREGORY S. FLINT,
STEVEN GROOME,
SHAWNA WHITEOWL, and
MARK DAMON,

                    Defendants.


_____________________________________________________________________

 ORDER GRANTING MOTION TO DISMISS DEFENDANT THE COUNTY OF PARK
_____________________________________________________________________

       Upon consideration of Plaintiffs’ Motion to Dismiss Defendant the County of Park

Only [28], it is

       ORDERED that all direct claims against The County of Park, State of Colorado,

as exist in this action are dismissed with prejudice, each side to bears its own costs and

attorneys fees.

       DATED: November 21st, 2007

                                         BY THE COURT:

                                         s/Richard P. Matsch
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                                         Richard P. Matsch, Senior Judge
